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                                   Exhibit 4


Declaration of John A. Safarli in Support of City’s Motion for Entry of Proposed
                      Remedial Plan and Final Injunction


                          Glatt v. City of Pasco, et al.
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               CITY MANAGER                   545-3404 I Fax            545-3403
               P.O. Box 293, (525 North 3rd Avenue) Pasco, Washington 9930 l I www.pasco-wa.gov




                                                      April10, 2015



Matt Beaton
Franklin County Auditor
1016 North 4th Avenue
Pasco WA 99301

RE:    City of Pasco Redistricting - 2015 Elections

Dear Mr. Beaton:

As you are aware, the City ofPasco has recently gone through the process of re-drawing its
voting districts with the specific goal to provide proportional as well as equal representation in
City elections.

With the exceptional assistance of your office, the City Council has adopted an Ordinance that
achieves that goal in providing candidates for City Council through the primary elections.

As we previously discussed, however, the at-large general election voting procedure presently
provided in PMC 1.10.070 may result in neutralizing these efforts for proportionate and
equitable voting, as well as exposing the City to liability under Section 2 of the Federal Voting
Rights Act. The experience of the City of Yakima in Montes vs. Yakima, vividly illustrates this
concern.

The City Council is about to consider an Ordinance amending PMC 1.10.070 to provide district-
based elections for the five council districts.

In our earlier discussions, and as reflected by Diana Killian's e-mail of March 20, 2015, you
have concerns regarding conducting of district-based election as proposed in this Ordinance.

I earnestly seek your reconsideration and agreement to conduct district-based elections in 2015 if
the City Council adopts the proposed Ordinance. It is the City's position that strict application of
RCW 35A.12.1 80, when applied to a population base such as the City ofPasco, has a high
probability of diluting and marginalizing the voting rights of minority groups in violation of the
Federal Voting Rights Act. Under the Federal supremacy clause, to the extent the State statute
conflicts with the Federal statute, the State law must yield.




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Matt Beaton, Auditor
April 10,2015
RE: City of Pasco Redistricting - 2015 Elections
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I have been authorized to share with you the memorandum prepared by the Pasco City Attorney
addressing this specific conflict between RCW 35A.12.180 and 42 U.S.C. § 1943. A copy of
both the proposed ordinance and the memorandum are enclosed.

The best and closest resource is the recent ruling in the Montes vs. Yakima case pending in the
Eastern District of Washington, United States District Court. That case is heavily cited in the
enclosed Memorandum. To assist, a copy of the Final Injunction and Remedial Districting Plan
entered in that case is, likewise, enclosed for your consideration.

The City Council is obviously very reluctant to proceed with the adoption of this Ordinance if
you will not conduct district-based elections for the City in 2015. As pointed out by Diana in her
e-mail, we have very little time to resolve this since filing will begin in mid May. We, therefore,
respectfully request your earliest consideration and response.

We would invite you to share this letter and the enclosed materials with the Prosecuting Attorney
or other legal counsel to assist you in your reconsideration. Likewise, if we can provide any
additional assistance or authorities, please let me know.

Your attention and consideration in this matter is greatly appreciated.




                                                Dave Zabell
                                               ~City Manager
DZ/tlz
cc: City Council
enclosures




                                                               Exhibit 4, Page 002
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